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                   EXHIBIT B
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          NCS’s U.S. Patent No. 10,465,445 (“the ’445 Patent”) and the Nine Energy BreakThru™ Casing Flotation Device


    Claim 28 of the ’445 Patent                             BreakThru™ Casing Flotation Device 1
    28.0 A float tool configured for use in positioning a   Nine Energy markets the following BreakThru™ casing floatation device
         casing string in a wellbore containing a well      for use in a casing string placed in a wellbore:
         fluid, the casing string having an internal
         diameter that defines a fluid passageway
         between an upper portion of the casing string
         and a lower portion of the casing string, the
         float tool comprising:




1
 All references to the BreakThru™ Casing Flotation Device are found at https://nineenergyservice.com/assets/files/Nine-BreakThru-
ProductSheet-v5__revision_date.pdf; https://nineenergyservice.com/cementing-drilling-solutions/breakthru-casing-flotation-device.


                                                                    1
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                                                  The casing string has an internal diameter for passing fluid between an
                                                  upper portion of the casing (below in green) and lower portion of the casing
                                                  (below in red):




28.1 a rupture disc assembly comprising (i) a     See element 28.0. The BreakThru™ device (i.e. a “rupture disc assembly”)
     tubular member having an upper end and a     is connected to the casing string. The BreakThru™ device has a tubular
     lower end, the upper and lower ends          member that has an upper end (below in blue) and a lower end (below in
     configured for connection in-line with the   orange). The upper and lower ends of the The BreakThru™ device are
     casing string and                            connected in-line with the casing:


                                                           2
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28.2 (ii) a rupture disc having a rupture burst      As shown below, the BreakThru™ device (i.e. “rupture disc assembly”)
     pressure and in sealing engagement with a       includes a glass barrier (i.e., a “rupture disc”). This barrier is in sealing
     region of the tubular member within the upper   engagement with the inner walls of the BreakThru™ device:
     and lower ends




                                                               3
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28.3 wherein the rupture disc is configured to          See element 28.2. The rupture disc disengages from the sealing
     disengage from sealing engagement when             engagement when it is exposed to a pressure that is greater than the
     exposed to a pressure greater than a hydraulic     hydraulic pressure in the casing string:
     pressure in the casing string after the casing
     string has been positioned in the wellbore




28.4 and the region of the tubular member where         The BreakThru™ device glass barrier (i.e. “rupture disc”) (see element 1.2)
     the rupture disc is attached has a larger internal is positioned in a region of the BreakThru™ device that has a larger internal

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diameter than the internal diameter of the      diameter (below in gold) than the internal diameter of the casing string
casing string and is parallel to the internal   (below in pink), and is parallel to the internal diameter of the casing string:
diameter of the casing string.




                                                         5
